Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 1 of 31 Page ID #:10489



    1   MICHAEL A. JACOBS (CA SBN 111664)
        THOMAS J. PARDINI (CA SBN 313401)
    2   MORRISON & FOERSTER LLP
        425 Market Street
    3   San Francisco, CA 94105-2482
        Telephone: (415) 268-7000
    4   Facsimile: (415) 268-7522
        mjacobs@mofo.com; tpardini@mofo.com
    5
        BENJAMIN J. FOX (CA SBN 193374)
    6   RYAN J. MALLOY (CA SBN 253512)
        SOO J. PARK (CA SBN 300988)
    7   MORRISON & FOERSTER LLP
        707 Wilshire Boulevard, Suite 6000
    8   Los Angeles, CA 90017-3543
        Telephone: (213) 892-5200
    9   Facsimile: (213) 892-5454
        bfox@mofo.com; rmalloy@mofo.com;
   10   spark@mofo.com
   11   Attorneys for Plaintiff/Defendants
        QUIBI HOLDINGS, LLC, WNDRCO
   12   HOLDINGS, LLC, QBI HOLDINGS, LLC,
        NEW QBI, LLC, JEFFREY KATZENBERG,
   13   CLIFTON L. SMITH, JR., JOSEPH
        BURFITT, ROBERT A. POST, JR., ERIC
   14   BUEHL, and BLAKE BARNES
   15
                             UNITED STATES DISTRICT COURT
   16
                           CENTRAL DISTRICT OF CALIFORNIA
   17
                                       WESTERN DIVISION
   18
   19   QUIBI HOLDINGS, LLC,                    Case No.: 2:20-CV-02250-CAS-SK
   20                    Plaintiff,             QUIBI’S RESPONSIVE CLAIM
                                                CONSTRUCTION BRIEF
   21         v.
   22   INTERLUDE US, INC. d/b/a EKO; and       Judge:    Hon. Christina A. Snyder
        JBF INTERLUDE 2009 LTD. –               Date:     March 29, 2021
   23   ISRAEL,                                 Time:     10:00 AM
                                                Crtrm:    8D
   24                    Defendants,
   25
   26
   27
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 2 of 31 Page ID #:10490



    1   JBF INTERLUDE 2009 LTD and               Case No.: 2:20-CV-02299-CAS-SK
        INTERLUDE U.S., INC., d/b/a EKO,         (CONSOLIDATED)
    2
                         Plaintiffs,
    3
              v.
    4
        QUIBI HOLDINGS, LLC, WNDRCO
    5   HOLDINGS, LLC, QBI HOLDINGS,
        LLC, NEW QBI, LLC, CLIFTON L.
    6   SMITH, JR., JOSEPH BURFITT,
        ROBERT A. POST, JR., BLAKE
    7   BARNES, ERIC BUEHL, AND
        JEFFREY KATZENBERG,
    8
                         Defendants.
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                                             2
Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 3 of 31 Page ID #:10491



    1                                         TABLE OF CONTENTS
    2                                                                                                                Page
    3   TABLE OF AUTHORITIES ...................................................................................... ii
    4   I.      INTRODUCTION ............................................................................................ 1
    5   II.     FACTUAL BACKGROUND .......................................................................... 1
    6           A.      Case Background ................................................................................... 1
    7           B.      Eko’s Asserted Patents ........................................................................... 2
    8                   1.       U.S. Patent No. 10,460,765 (“the ’765 Patent”).......................... 2
    9                   2.       U.S. Patent No. 8,600,220 (“the ’220 Patent”)............................ 2
   10                   3.       U.S. Patent No. 10,418,066 (“the ’066 Patent”).......................... 3
   11           C.      Eko’s Untimely New Claim Constructions ........................................... 3
   12   III.    THE COURT SHOULD ADOPT QUIBI’S CONSTRUCTIONS .................. 4
   13           A.      “video presentation” (’765 patent) ......................................................... 4
   14           B.      “resized” (’765 patent) ........................................................................... 9
   15           C.      “media player window” (’765 patent) ................................................. 12
   16           D.      “range” (’765 patent) ........................................................................... 15
   17           E.      “segment” (’220 patent and ’066 patent) ............................................. 18
   18           F.      “collection of segments” (’220 patent) ................................................ 21
   19           G.      “content paths” (’066 patent) ............................................................... 23
   20
   21
   22
   23
   24
   25
   26
   27
   28
                                                                 i
        sf-4416135
Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 4 of 31 Page ID #:10492



    1                                      TABLE OF AUTHORITIES
    2
                                                                                                              Page(s)
    3
        Cases
    4
        Am. Piledriving Equip., Inc. v. Geoquip, Inc.,
    5
          637 F.3d 1324 (Fed. Cir. 2011) ............................................................................. 6
    6
        Ethicon Endo-Surgery, Inc. v. United States Surgical Corp.,
    7      93 F.3d 1572 (Fed. Cir. 1996) ............................................................................. 14
    8
        Greenliant Sys., Inc. v. Xicor LLC,
    9     692 F.3d 1261 (Fed. Cir. 2012) ............................................................................. 6
   10   Honeywell Int’l, Inc. v. ITT Indus., Inc.,
   11     452 F.3d 1312 (Fed. Cir. 2006) ........................................................................... 19
   12   Microsoft Corp. v. Multi-Tech Sys.,
          357 F.3d 1340 (Fed. Cir. 2004) ............................................................................. 6
   13
   14   N. Am. Container, Inc. v. Plastipak Packaging, Inc.,
           415 F.3d 1335 (Fed. Cir. 2005) ......................................................................... 8, 9
   15
        Pacing Techs., LLC v. Garmin Int’l, Inc.,
   16
          778 F.3d 1021 (Fed. Cir. 2015) ........................................................................... 11
   17
        Personalized Media Communs., LLC v. Apple Inc.,
   18      952 F.3d 1336 (Fed. Cir. 2020) ......................................................................... 7, 8
   19
        Phillips v. AWH Corp.,
   20      415 F.3d 1303 (Fed. Cir. 2005) ........................................................................... 17
   21   Process Control Corp. v. HydReclaim Corp.,
   22      190 F.3d 1350 (Fed. Cir. 1999) ........................................................................... 22
   23   RFID Tracker, Ltd. v. Wal-Mart Stores, Inc.,
   24     342 F. App’x 628 (Fed. Cir. 2009) ........................................................................ 9

   25   Seachange Int’l, Inc. v. C-COR Inc.,
           413 F.3d 1361 (Fed. Cir. 2005) ............................................................................. 8
   26
   27   SIMO Holdings, Inc. v. H.K. uCloudlink Network Tech., Ltd.,
           983 F.3d 1367 (Fed. Cir. 2021) ....................................................................... 9, 11
   28
                                                               ii
        sf-4416135
Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 5 of 31 Page ID #:10493



    1   Springs Window Fashions LP v. Novo Indus., L.P.,
    2      323 F.3d 989 (Fed. Cir. 2003) ............................................................................... 7

    3   Uship Intellectual Props., LLC v. United States,
          714 F.3d 1311 (Fed. Cir. 2013) ............................................................................. 8
    4
    5   Zoho Corp. v. Sentius Int’l, LLC,
          No. 4:19-cv-0001, 2020 WL 3128910,
    6     2020 U.S. Dist. LEXIS 103314 (N.D. Cal. June 12, 2020) .................................. 7
    7
        Statutes
    8
        35 U.S.C. § 112(b) .................................................................................................... 23
    9
   10
   11
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   14
   15
   16
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   22
   23
   24
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 6 of 31 Page ID #:10494



    1          I.      INTRODUCTION
    2          Quibi’s proposed constructions are supported by the patents’ claim language,
    3   specifications, and prosecution histories. These constructions provide needed
    4   clarity on the scope of Eko’s asserted claims. Eko, by contrast, proposes vague
    5   constructions to advance its erroneous infringement theories.
    6          In its December 2020 order denying Eko’s second motion for a preliminary
    7   injunction, the Court considered the scope of several disputed claim terms and
    8   found that Eko’s efforts to extend them to Quibi’s accused Turnstyle feature were
    9   unlikely to succeed. Eko’s opening brief fails to refute the Court’s thorough
   10   analysis. And while Eko’s brief contains several untimely amendments to Eko’s
   11   constructions, none addresses the problems that the Court identified in its order.
   12          II.     FACTUAL BACKGROUND
   13                  A.    Case Background
   14          Quibi’s accused Turnstyle technology enabled users to switch between
   15   landscape and portrait views by rotating the phone. Eko develops branching
   16   interactive video content, where users can select the next segment to influence the
   17   storyline. In its initial complaint, Eko asserted claims for alleged infringement of
   18   one patent and trade secret misappropriation. (Dkt. 1.)1 Eko then filed a motion for
   19   preliminary injunction on the trade secret claim. (Dkt. 30.) The Court denied that
   20   motion. (Dkt. 193.) In subsequent amended complaints, Eko asserted two more
   21   patents, as well as other claims directed at Turnstyle. (See, e.g., Dkt. 425.)
   22          On October 21, 2020, Quibi announced it was winding down its business.
   23   Eko then filed an ex parte motion for a temporary restraining order and preliminary
   24   injunction to stop Quibi’s wind-down. (Dkt. 240.) Eko’s attempt to enjoin Quibi’s
   25   wind-down fared no better than its attempt to enjoin Quibi’s launch. The Court
   26   denied Eko’s motion and issued a 56-page opinion finding that “Eko’s motion fails
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               1
                   All references to “Dkt.” are to Case No. 2:20-CV-02299-CAS-SK.
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        sf-4416135
Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 7 of 31 Page ID #:10495



    1   to make a sufficient showing demonstrating likely success on the merits.” (Dkt.
    2   418 [“PI Order”] at 55.) The Court specifically “conclude[d] Eko ha[d] not shown
    3   it will more likely than not succeed on its infringement claims.” (PI Order at 15.)
    4   The Court’s conclusions were based in part on its analysis of Eko’s patents and
    5   interpretation of the claims.
    6                B.     Eko’s Asserted Patents
    7         In its PI Order, the Court provided a summary of Eko’s three patents and
    8   made several tentative findings on claim interpretation. (PI Order at 8-11, 16-24.)
    9                       1.    U.S. Patent No. 10,460,765 (“the ’765 Patent”)
   10         The claims of Eko’s ’765 patent are directed to switching from a first video
   11   presentation to a second video presentation when a media player window is resized,
   12   based on evaluating a mapping of the resized media player window to ranges of
   13   window heights and widths. (Dkt. 425-1 [“’765 patent”], claim 1, 5:47-6:15.) The
   14   Court made three findings related to claim interpretation in its PI Order. First, the
   15   Court found that the limitations “first video presentation” and “second, different
   16   video presentation” required two separate video presentations and did not
   17   encompass a single stitched-together video with different regions. (PI Order at
   18   16-17.) Second, the Court found that the claimed resizing of a media player
   19   window does not encompass rotating a device. (Id. at 20.) Third, the Court found
   20   that a “range” cannot be a fixed screen width or height. (Id.)
   21                       2.    U.S. Patent No. 8,600,220 (“the ’220 Patent”)
   22         The claims of Eko’s ’220 patent are directed to a system that selectively
   23   determines a subset of a collection of video segments to download based on a
   24   download priority. (See, e.g., Dkt. 425-2 [“’220 patent”], claim 1.) As the Court
   25   explained, the ’220 patent “sought to ‘provide systems and methods for loading
   26   videos that allow a user to create customized videos.’” (PI Order at 10 (quoting
   27   ’220 patent, 1:65-67).)
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 8 of 31 Page ID #:10496



    1         The Court made two findings relevant to claim construction in its PI Order.
    2   First, the Court found that Quibi’s single stitched-together video does not include
    3   the claimed “segments,” which the Court referred to in its summary of the ’220
    4   patent as “standalone videos.” (Id. at 22, 10.) Second, the Court found that the
    5   term “collection of segments” does not encompass stitched-together videos or
    6   standard streaming protocols for video downloading. (Id. at 21-22.)
    7                      3.     U.S. Patent No. 10,418,066 (“the ’066 Patent”)
    8         The claims of Eko’s ’066 patent are directed to enabling a user to create
    9   customized “content paths” made up of multimedia content segments. (See, e.g.,
   10   Dkt. 425-3 [“’066 patent”], claim 1.) “Each content segment defines a portion of
   11   one or more content paths and includes a decision period during which a user may
   12   select a subsequent content segment as the content segment is playing.” (Id.,
   13   Abstract; see also id., claim 1.) The claimed system synchronizes the video and
   14   audio of the selectable segments. (Id.)
   15         In its PI Order, the Court found that “as with the ’220 patent,” the claim term
   16   “content segments” does not encompass a mere smaller piece of a video stream
   17   used to optimize download speed (e.g., HLS or DASH chunks). (PI Order at 23.)
   18   In addition, the Court found that those pieces of video from HLS or DASH do not
   19   comprise “decision period[s].” (Id. at 23.)
   20                C.    Eko’s Untimely New Claim Constructions
   21         The Court set a claim construction schedule with deadlines for preliminary
   22   exchanges and filing a Joint Claim Construction Statement. (Dkt. 200; see also
   23   Dkt. 229 (granting stipulation to extend schedule).) Presumably, this was designed
   24   for the parties to narrow issues in dispute and provide notice of their positions. For
   25   two months, Quibi and Eko identified claim terms for construction, exchanged
   26   preliminary constructions, and met and conferred. The parties filed their Joint
   27   Claim Construction Statement, which contains their constructions for nine disputed
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 9 of 31 Page ID #:10497



    1   claim terms; on December 21, 2020, the same day the Court circulated its tentative
    2   PI Order to the parties. (Dkt. 355; 355-1; 409.)
    3         Six weeks later, in its opening claim construction brief, Eko for the first time
    4   proposed several revised constructions. Eko did not seek leave of Court to amend
    5   them or inform Quibi of the amendments. Some of Eko’s amendments eliminate
    6   issues in dispute2, but most of Eko’s amended constructions fail to properly narrow
    7   the constructions that the Court found overbroad in its PI Order.
    8         III.   THE COURT SHOULD ADOPT QUIBI’S CONSTRUCTIONS
    9         Eko’s claim construction brief largely ignores the Court’s PI ruling and
   10   rehashes the same rejected arguments with a different gloss. Eko’s vague
   11   constructions are designed to support infringement arguments that the Court found
   12   unconvincing. Quibi’s constructions are supported by the intrinsic evidence.
   13                A.     “video presentation” (’765 patent)
   14    Term             Quibi’s Construction    Eko’s Construction in Joint
   15                                             Statement (Dkt. 355)
         “video        “independent video         Plain and ordinary meaning, which is
   16    presentation” presentation not           “visual media content that may have
   17                  comprising a region of     audio and/or other media associated
         ’765 Patent, a larger-dimensioned        with it”
   18    claims 1, 3- video”                      Eko’s Construction in Opening Brief
   19    10, 12-18                                (Dkt. 435)
                                                  Plain and ordinary meaning, which is
   20
                                                  “visual media content displayed to a
   21                                             user on a user device and may have
                                                  audio and/or other media associated
   22
                                                  with it”
   23
              Quibi’s construction for “video presentation” is based verbatim on statements
   24
        that Eko made regarding this term during prosecution. Claims 1 and 10 of the
   25
              2
                  Because Quibi understands that Eko now agrees that “‘configuring [a/the]
   26   first state’ and ‘decision points’ do not require construction and can be afforded
        their plain and ordinary meaning” (Dkt. 435 [Eko Claim Constr. Br.] at 1 n. 1),
   27   Quibi does not address those terms here. However, Quibi’s expert opines on the
        plain and ordinary meaning of “decision points” in his declaration.
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 10 of 31 Page ID
                                #:10498


 1   ’765 patent require receiving a “first video presentation” and a “second, different
 2   video presentation,” and transitioning from the first to the second upon the resizing
 3   of a media player window. To overcome the PTO’s rejection of the claims based
 4   on a prior-art reference “Kasai,” Eko twice asserted that “each of the first video
 5   presentation and the second video presentation is an independent video
 6   presentation not comprising a region of a larger-dimensioned video.” (Ex. 13,
 7   [excerpts of ’765 file history] EKO0001115 at 1907; 1906 (same).)
 8         The Court already construed this term consistent with Quibi’s proposed
 9   construction. (PI Order at 17.) In the PI motion, Eko had “ask[ed] the Court to
10   construe ‘a first video presentation’ and ‘a second, different video presentation’ as
11   comprising a single, stitched together video, with the first video presentation being
12   a partial area of that video, and the second, different video presentation being a
13   different partial area of that video.” (Id. at 19.) The Court rejected this argument,
14   finding it inconsistent with Eko’s trade secret claim, Eko’s position during
15   prosecution, and dependent claim 5. (Id. at 17.)
16         The prosecution history strongly supports Quibi’s construction. Eko’s patent
17   application originally contained nothing about a “first video presentation” or
18   “second, different video presentation.” (See, e.g., Ex. 1, EKO0001154.) The
19   claims referred instead to “the first state of the video” and “transitioning the video
20   to a second state.” (Id.) Dependent claims 9, 10, 19, and 20 all referred to
21   modifying properties “of the video,” in singular form. (Id., EKO0001155-1157.)
22   The examiner rejected all of Eko’s initial claims as anticipated by Kasai, and Eko
23   needed to distinguish its claims from this reference. (Id., EKO0001817.)
24         Eko’s responses to the Kasai rejection support Quibi’s construction of “video
25   presentation.” Eko first amended its claims to add the “first video presentation”
26   and “second, different video presentation” limitations, and rewrote its dependent
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           3
               All “Ex.” refer to exhibits attached to the Declaration of Michael A. Jacobs.
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 11 of 31 Page ID
                                #:10499


 1   claims to modify properties “between the videos” (plural). (Id., EKO0001862-
 2   1866.) Eko then argued that while Kasai “focuses on a single video presentation,
 3   and allowing a user to switch his viewing area among regions of that single
 4   presentation,” this “is not the same as seamlessly transitioning from video from a
 5   first video presentation to video from a second, different video presentation.” (Id.,
 6   EKO0001860.) When the examiner rejected these amended claims—again based
 7   on Kasai—Eko again amended its claims and explained even more precisely that
 8   “each of the first video presentation and the second video presentation is an
 9   independent video presentation not comprising a region of a larger-dimensioned
10   video.” (Id., EKO0001907 (emphasis added); EKO0001906 (same).) The Court
11   accurately described the accompanying amendment to Eko’s assertions (id.,
12   EKO0001903) as a “clarifying amendment.” (PI Order at 18-19 n. 5.) Eko’s
13   statements and further amendment re-emphasized Eko’s position that the “first
14   video presentation” and “second, different video presentation” must be independent
15   video presentations, which differed from Kasai’s “regions” of one video.
16         The Court correctly found that “Eko ‘is bound by the arguments that it made
17   before the examiner.’” (PI Order at 18, quoting Greenliant Sys., Inc. v. Xicor LLC,
18   692 F.3d 1261, 1271 (Fed. Cir. 2012).) Greenliant explained that regardless of
19   whether an argument was adopted for allowance, “the sole question is whether the
20   argument was made.” Greenliant, 692 F.3d at 1271.4 Eko’s distinguishing
21   statements were repeated and unambiguous, and were made to overcome prior art.
22   Eko twice explained its rationale and twice amended its claims to clarify that it
23
24         4
              Eko’s statements establish prosecution disclaimer even if not reflected in
     final claims or not relied on by examiner. Am. Piledriving Equip., Inc. v. Geoquip,
25   Inc., 637 F.3d 1324, 1336 (Fed. Cir. 2011) (finding disavowal of broader claim
     scope based on patentee’s statement, even where patentee “did not amend its
26   claims” and where “the examiner explicitly disagreed with it”); see also Microsoft
     Corp. v. Multi-Tech Sys., 357 F.3d 1340, 1350 (Fed. Cir. 2004) (“We have stated on
27   numerous occasions that a patentee’s statements during prosecution, whether relied
     on by the examiner or not, are relevant to claim interpretation.”).
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 12 of 31 Page ID
                                #:10500


 1   claimed two distinct “video presentations”—not “states” of one video and not
 2   “regions” of one video. Eko’s removal of one amendment has no effect on Eko’s
 3   disclaimer, especially where it retained all its accompanying distinguishing
 4   statements and prior amendments directed to the same argument. The Court agreed
 5   that Eko’s removing one “clarifying amendment” “does not change its express
 6   representations distinguishing Kasai,” which “Eko relied on . . . to overcome the
 7   Office Action.” (PI Order at 18-19, n. 5.)5 This is not an instance where Eko
 8   “ma[de] an apparently erroneous argument, the examiner correct[ed] the error, and
 9   the patentee shift[ed] to a different argument.” Zoho Corp. v. Sentius Int’l, LLC,
10   No. 4:19-cv-0001, 2020 WL 3128910, at *12 (N.D. Cal. June 12, 2020).
11         Although Eko cites Springs Window to support that its removal of one
12   amendment should eliminate all its prosecution statements, Springs Window
13   supports Quibi’s position. There, the applicant was held to its prosecution
14   disclaimer despite arguing many of Eko’s same positions: (1) the examiner did not
15   rely on the disclaimer; (2) the claims were allowed for a different reason; (3) the
16   distinguishing features were not reflected in the claims; and (4) the construction
17   excluded an embodiment. Springs Window Fashions LP v. Novo Indus., L.P., 323
18   F.3d 989, 993-996 (Fed. Cir. 2003). The Federal Circuit held that “the fact that the
19   prosecution shifted to a different focus does not blunt the impact of those remarks
20   made to overcome the prior rejection . . . . The public notice function of a patent
21   and its prosecution history requires that a patentee be held to what he declares
22   during the prosecution of his patent.” Id. at 995 (quotations omitted).
23         Setting disclaimer aside, Eko’s prosecution statements inform claim scope
24   regardless. Personalized Media Communs., LLC v. Apple Inc., 952 F.3d 1336,
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26         5
             Eko’s arguments allowed it to overcome Kasai. The examiner agreed that
     “Kasai fail[ed] to teach wherein each of the first video presentation and the second
27   video presentation is an independent video presentation not comprising a region of
     a larger-dimensioned video.” (Ex. 1, EKO0001934.)
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 13 of 31 Page ID
                                #:10501


 1   1345 (Fed. Cir. 2020) (“Even where prosecution history statements do not rise to
 2   the level of unmistakable disavowal, they do inform the claim construction.”) This
 3   is because “an applicant’s repeated and consistent remarks during prosecution can
 4   define a claim term by demonstrating how the inventor understood the invention.”
 5   Id. at 1340 (citations omitted). In light of this prosecution history, a POSITA
 6   would interpret Eko’s claims to exclude transitioning between regions of one video.
 7   (See Declaration of Jim Williams [“Williams Decl.”] ¶¶ 37-38.)
 8         Eko’s apparent argument that “video presentation” was intended to describe
 9   only what a user can see is absent from Eko’s prosecution statements. (Dkt. 435
10   [“Eko Claim Constr. Br.”] at 4-5.) Eko’s intent is irrelevant. N. Am. Container,
11   Inc. v. Plastipak Packaging, Inc., 415 F.3d 1335, 1346 (Fed. Cir. 2005) (rejecting
12   technical argument about how applicant intended to distinguish claims from prior
13   art in favor what applicant actually argued). Even if the Court agreed that Eko did
14   not need to phrase its disclaimer as broadly as it did, “[t]he fact that the applicant
15   may have given up more than was necessary does not render the disclaimer
16   ambiguous. The analysis focuses on what the applicant said, not on whether the
17   representation was necessary or persuasive.” Uship Intellectual Props., LLC v.
18   United States, 714 F.3d 1311, 1314-1315 (Fed. Cir. 2013) (finding prosecution
19   disclaimer despite “applicant ha[ving] no need to give up claim scope”).
20         Eko fails to explain how Quibi’s construction conflicts with claim 5 or
21   excludes the embodiments of Figures 4 and 5. (Eko Claim Constr. Br. at 6-7.) The
22   Court found that claim 5’s requirement of “setting a viewing region to a partial area
23   of the video” made sense only if the video presentations in claim 1 were not partial
24   regions of one video presentation. (PI Order at 19; Seachange Int’l, Inc. v. C-COR
25   Inc., 413 F.3d 1361, 1368 (Fed. Cir. 2005) (“The doctrine of claim differentiation
26   . . . is at its strongest where the limitation sought to be ‘read into’ an independent
27   claim already appears in a dependent claim.”).) And because claim 1 also includes
28   “configuring a first state of the video from the first video presentation,” Figures 4

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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 14 of 31 Page ID
                                #:10502


 1   and 5 could be referring to this “configuring” process before the resizing of a media
 2   player window and transition to a separate video presentation. (Williams Decl.
 3   ¶¶ 41-43.) But even if Quibi’s construction excluded these embodiments, “[t]he
 4   fact that claims do not cover certain embodiments disclosed in the patent is
 5   compelled when narrowing amendments are made in order to gain allowance over
 6   prior art.” N. Am. Container, Inc. v. Plastipak Packaging, Inc., 415 F.3d 1335,
 7   1345–46 (Fed. Cir. 2005).6
 8         Eko similarly argues that Quibi’s construction introduces a negative
 9   limitation, but “the doctrine of prosecution disclaimer applies even if the disclaimer
10   results in a negative claim limitation.” RFID Tracker, Ltd. v. Wal-Mart Stores,
11   Inc., 342 F. App’x 628, 630 (Fed. Cir. 2009) (affirming construction with negative
12   limitation “but not a transmitter” based on applicant’s prosecution statements).
13                B.    “resized” (’765 patent)
14    Term         Quibi’s Construction        Eko’s Construction in Joint Statement
15    “resized”    “changed in size by an      Plain and ordinary meaning, which is
                   input device (not           “change to any size dimension, such as
16    ’765 Patent, physically rotated)”        height and/or width”
17    claims 1, 10                             Eko’s Construction in Opening Brief
                                               Plain and ordinary meaning, which is
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                                               “changed in size”
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           Quibi’s proposed construction of “resized” is required by the intrinsic
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     evidence and aligns with the Court’s Order. The Court found that “it appears Quibi
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     does not practice the claimed resizing of the media player window . . . . Quibi’s
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     application changes from landscape to portrait orientation based on device rotation
23
     (not window resizing).” (PI Order at 20.) Eko ignores this ruling.
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26         6
             The ’765 patent also has no “preferred embodiments,” and non-preferred
     embodiments are subject to a weaker presumption that the claim covers them.
27   SIMO Holdings, Inc. v. H.K. uCloudlink Network Tech., Ltd., 983 F.3d 1367, 1371
     (Fed. Cir. 2021) (reversing construction covering non-preferred embodiment).
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 15 of 31 Page ID
                                #:10503


 1         The ’765 patent is clear that rotating a device is different from “resizing” a
 2   media player window. (Compare ’765 Patent at 4:39-46, with id. at 5:47-55.)
 3   “Fig. 2 depicts a video state change responsive to a rotation of a user device,”
 4   whereas “Fig. 3 depicts a video state change responsive to a window resizing.”
 5   (’765 patent at 2:26-29 (emphasis added).) While Figure 2 depicts a “smartphone
 6   200,” Figure 3 depicts “a windowed media player 300 on a desktop computer,
 7   laptop, or other user device supporting windowed applications.” (Id. at 5:47-50.)
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16                 Figure 2 (“Rotate” and “smartphone 200” circled in red)
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25           Figure 3 (“Resize” and “windowed media player 300” circled in red)
26         Quibi’s construction uses the same language as Eko’s patent. Describing
27   Figure 3, the specification states, “In this instance, rather than physically rotating
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 16 of 31 Page ID
                                #:10504


 1   or repositioning the user device, the user changes the window size or state (e.g.,
 2   minimized, maximized, thumbnailed) of the media player 300 using an input device
 3   (e.g., mouse, keyboard, touchscreen, etc.).” (’765 Patent at 5:50-54 (emphasis
 4   added).) Quibi’s construction—“changed in size by an input device (not physically
 5   rotated)”—tracks this disclosure.
 6         Quibi’s construction also aligns with the prosecution history. After several
 7   rejections from the Patent Office, Eko added the limitations about “resizing” a
 8   “media player window” and mapping the resized window to various ranges. (Ex. 1,
 9   EKO0001960.) Arguing for the claims’ allowance with these limitations, Eko cited
10   the specification’s discussion of Figure 3 and not Figure 2. (Id., EKO0001967-
11   1968; see also ’765 patent at 5:57-6:14.)
12         Eko’s warning against Quibi’s negative limitation is misplaced because that
13   presumption only applies “absent clear disavowal, disclaimer, or lexicography.”
14   (Eko Claim Constr. Br. at 11.) But Eko explained that Figure 3’s window resizing
15   occurs “rather than physically rotating” (’765 patent, 5:50), and did not cite to
16   Figure 2 during prosecution to show this “resizing.” Eko also argues that Quibi’s
17   construction excludes “preferred embodiments,” but the ’765 patent has no
18   preferred embodiments. Non-preferred embodiments are subject to a weaker
19   presumption that the claim covers them. SIMO Holdings, 983 F.3d at 1371. It is
20   also appropriate to exclude an embodiment when the claim language requires it, as
21   it does here. Pacing Techs., LLC v. Garmin Int’l, Inc., 778 F.3d 1021, 1026 (Fed.
22   Cir. 2015).
23         Eko’s argument that resizing and rotating are not “mutually exclusive”
24   because both can happen at the same time fails for two reasons. (Eko Claim Constr.
25   Br. at 11:21-26.) First, Eko relies on the patent’s discussion of resizing an “item”
26   on a phone screen—not resizing a “media player window,” as the claims require.
27   (Williams Decl. ¶¶ 49-52.) Second, Eko fails to recognize that the words still have
28   mutually exclusive meanings. The patent explains that “rotating the device

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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 17 of 31 Page ID
                                #:10505


 1   between portrait and landscape results in a rotation of the item displayed on the
 2   device screen,” and that “in some cases,” this rotation can “simultaneously resiz[e]
 3   the item” to fit the narrower portrait screen, with mattes displayed above and below
 4   the image. (’765 patent, 4:65-5:10). But this proves the opposite of what Eko
 5   contends. The item both rotates and resizes; one process revolves the item on its
 6   axis, and one process shrinks it to a smaller size. Rotating maintains the item’s
 7   size, so it is “resized” to be larger or smaller. (See, e.g., Ex. 2 at QUIBI_0008823
 8   (“To make an object or space larger or smaller”); Ex. 3 at QUIBI_0008825 (“To
 9   alter the size of; to make larger or smaller”) and QUIBI_0008826 (“Computing. To
10   alter the size of (an image or window on the screen).”).) Quibi’s construction of
11   “resized” correctly excludes “not physically rotated.” (Williams Decl. ¶¶ 54-55.)
12                C.    “media player window” (’765 patent)
13    Term         Quibi’s Construction       Eko’s Construction in Joint Statement
14    “media       “a user-resizable          Plain and ordinary meaning, which is “a
      player       rectangular portion of     window of an application running on a
15    window”      a screen in which          device, such as a computer, smartphone,
16                 media content is           or tablet, that is capable of presenting (or
      ’765 Patent, displayed”                 playing) videos”
17    claims 1, 10                            Eko’s Construction in Opening Brief
18                                            Plain and ordinary meaning, which is “a
19                                            window of an application running on a
                                              device, such as a computer, smartphone,
20                                            or tablet, that is capable of presenting (or
21                                            playing) video content”
22         The dispute over “media player window” is closely related to the “resized”

23   dispute because the terms appear in the same limitation: “determining that a media

24   player window in which the video is playing has been resized . . .” (’765 patent,

25   claim 1.) Quibi’s proposed construction of “media player window” describes the

26   proper scope of Eko’s claims. It also aligns with the Court’s finding, which Eko

27   ignores, that “it appears Quibi does not practice the claimed resizing of the media

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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 18 of 31 Page ID
                                #:10506


 1   player window . . . . Quibi’s application changes from landscape to portrait
 2   orientation based on device rotation (not window resizing).” (PI Order at 20.)
 3         Eko’s proposed construction is too broad and includes “smartphones” as a
 4   possible device supporting the “window.” This is incorrect. A POSITA at the time
 5   of the invention would disagree that a smartphone could support the “media player
 6   window” described in the patent. (Williams Decl. ¶¶ 51-52, 58-59, 63.) Figure 2
 7   refers to a “smartphone 200 having a number of associated properties,” including a
 8   long list that does not include anything about a “window.” (’765 patent, 4:39-53.)
 9   The patent explains that sometimes the “existence of a particular device property
10   depends on the device type,” and introduces the “window”-related properties by
11   specifically limiting them to devices that support them—not smartphones, but
12   “desktops, laptops, [and] televisions”:
13         [F]or device operating systems that support windowed applications
14         (e.g., desktops, laptops, televisions, or other devices supporting
           Microsoft Windows® operating systems or Apple OS X ® operating
15         systems), one device property can be the window size (e.g., height and
16         width values) of a media player application (e.g., native application,
           browser, or otherwise), or the window state (e.g., minimized,
17         maximized, in thumbnail) of a media player application.
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19   (’765 patent at 4:55-63) (emphasis added).) This “window” is central to Figure 3,
20   which “depicts a concept similar to that shown in Fig. 2,” except this time “with a
21   windowed media player 300 on a desktop computer, laptop, or other user device
22   supporting windowed applications.” (Id., 5:47-50.)) The black banner at the top of
23   Figure 3 further suggests a desktop display.
24         Quibi’s construction incorporates the required elements of the “media player
25   window.” First, the media player window must be “resizable” “during playback of
26   the video from the first video presentation.” (’765 patent, claim 1 (emphasis
27   added).) A resizable window differs from a non-resizable physical screen.
28   Claims 2 and 11 differentiate “window size” from “physical screen size” by reciting

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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 19 of 31 Page ID
                                #:10507


 1   both in a long list of properties. Ethicon Endo-Surgery, Inc. v. United States
 2   Surgical Corp., 93 F.3d 1572, 1579 (Fed. Cir. 1996) (use of “pusher bar” and
 3   “pusher assembly” in same claim meant they were not synonyms). The ’765 patent
 4   measures “screen size” in inches and “window size” in pixels. (’765 patent, 8:54-
 5   59.) The inches of the screen cannot resize during playback, but the window’s
 6   pixels can. (Williams Decl. ¶ 59.)
 7         Moreover, the media player window must be resizable by the user. In the
 8   “media player window” context, “the user changes the window size or state (e.g.,
 9   minimized, maximized, thumbnailed) of the media player 300 using an input device
10   (e.g., mouse, keyboard, touchscreen, etc.) . . . . [A] user resizes the associated
11   window.” (’765 patent, 5:50-56.) Quibi’s construction includes “user-resizable” to
12   incorporate how a user must act upon the window to resize it.
13         Finally, Quibi’s construction includes how the media player window
14   comprises “a portion of a screen.” The specification explains that the changeable
15   device properties include “the window size (e.g., height and width values)” or
16   “window state (e.g., minimized, maximized, in thumbnail)” of a media player
17   application. (’765 patent at 4:55-63.) Table 1 shows how “a particular window can
18   be individually resized to occupy between 5% and 100% of a screen.” (Id., 6:2-14.)
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24   A media player window that can be minimized, maximized, thumbnailed, or resized
25   comprises a “portion of the screen.” Quibi’s construction clarifies that the window
26   occupies a portion of the conceptually distinct screen.
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 20 of 31 Page ID
                                #:10508


 1                D.     “range” (’765 patent)
 2    Term         Quibi’s Construction         Eko’s Construction in Joint Statement
 3    “range”      “plurality of possible       Plain and ordinary meaning, which is
                   values between upper         “one or more values as to which
 4    ’765 Patent, and lower limits”            variation is possible”
      claims 1, 10                              Eko’s Construction in Opening Brief
 5
                                                Plain and ordinary meaning, which is “a
 6                                              set of possible values”
 7         There are two differences between the parties’ constructions of “range.”
 8   The first is that Quibi’s construction, but not Eko’s, requires a plurality of possible
 9   values. This is consistent with the Court’s PI Order, which found that Eko was not
10   reasonably likely to prevail on the ’765 patent in part because “Quibi’s application
11   changes from landscape to portrait orientation . . . based on fixed values (not
12   ranges).” (PI Order at 20 (emphasis added).) A fixed value, by definition, has
13   only a single value, not a plurality of possible values.
14         Although Eko’s brief is silent on the point, Eko maintains its argument that a
15   “range” can be a single (i.e., fixed) value. Eko’s original construction of “range,”
16   submitted before the Court’s PI Order, used the phrase “one or more values,”
17   clearly conveying that a “range” can be a single value. (Dkt. 355-1 at 5 (emphasis
18   added).) Eko’s amended construction, submitted after the Order, uses the phrase
19   “set of possible values” instead. Concerned that a “set of possible values” could
20   still comprise a single value, Quibi emailed Eko asking whether it agrees that a
21   “range” must be a plurality of values. (Ex. 4 [2/10/2021 Email].) Eko refused to
22   respond substantively. (Id.) Thus, it appears that Eko amended its construction to
23   have the same scope as its original construction—just with disguised intent.
24         The Court’s tentative finding that “range” does not extend to fixed values
25   was correct. The specification of the ’765 patent expressly contrasts “fixed
26   dimensions” with “ranges.” (’765 patent, 5:65-6:1 (“In some implementations,
27   instead of limiting the windowed media player 250 to fixed dimensions, ranges for
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 21 of 31 Page ID
                                #:10509


 1   window heights and/or widths can be defined and associated with differing media
 2   content.”) (emphasis added).) A “fixed window dimension,” according to the
 3   specification, is a “defined height and width” in which particular media content
 4   (e.g., a video) is displayed. (Id., 5:57-58.) For example, a video of a singer may
 5   be displayed in a window having “fixed dimensions X,” while a video of the band
 6   may be displayed in a window having “fixed dimensions Y.” (Id., 5:58-62.) Thus,
 7   “fixed dimensions” means a single window height and a single window width. By
 8   contrast, a “range” is a plurality of window heights and window widths. (Id.,
 9   5:65-6:14.) The specification illustrates this in Table 1 (below).
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15   Here, Video 1 is displayed in windows having heights between 5% and 50% and
16   widths between 5% and 100% of the screen size. Video 2 is displayed in windows
17   having heights between 50% and 100% and widths between 5% and 25% of the
18   screen size.
19         Eko’s interpretation of “range” to encompass a single value conflicts not
20   only with the specification, but also with the claim language. Claims 1 and 10 both
21   recite “determining that the second [height / width] is included in a particular one
22   of the media player window [height / width] ranges.” The words “included in”
23   indicate that the ranges comprise multiple values.
24         That Quibi’s expert used the word “set” in discussing the meaning of
25   “range” does not support Eko’s construction. (See Eko Claim Constr. Br. at
26   15.) Unlike Eko, he used “set” to refer to a plurality of values. (Williams Decl.
27   ¶ 74; Dkt. 259-1 ¶ 71 (“A person of ordinary skill in the art would expect a media
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 22 of 31 Page ID
                                #:10510


 1   player window height ‘range’ to include a set of possible values within which an
 2   actual measured height could fall.” (emphasis added).)
 3         The second difference between the parties’ constructions is that Quibi’s
 4   construction, but not Eko’s, states that a “range” spans from a lower limit to an
 5   upper limit. As illustrated in Table 1, every “range” in the specification spans
 6   from a lower limit to an upper limit. (’765 patent, 6:1-14.)
 7         Eko does not appear to dispute that a “range” is bounded by limits. Even
 8   Eko’s car price examples (as discussed below) have limits ($5,000 and $7,000 in
 9   one example; $8,000 and $9,000 in the other). (Eko Claim Constr. Br. at
10   16.) Rather, Eko appears to contend that a “range” can exclude possible values
11   between the lower and upper limits. For example, Eko’s construction would
12   incorrectly allow for a “range” of window heights to consist solely of 50%, 75%,
13   and 100% of screen size, even if 80% is a possible value. That is inconsistent not
14   only with the plain and ordinary meaning of “range,” but also the specification.
15   Table 1’s repeated use of “to” between the limits (e.g., “50% to 100%”) shows that
16   the ranges cover all possible intermediate values (e.g., 80% in this example).
17         Eko’s reliance on claim 2 is misplaced. (See Eko Claim Constr. Br. at
18   15.) The “properties” recited in claim 2 are not used in claim 1’s steps involving
19   “ranges”; they are used in an earlier step of “configuring a first state of the
20   video.” (Williams Decl. ¶¶ 75-78.)
21         Eko’s discussion of car prices is also misguided. (See Eko Claim Constr. Br.
22   at 16.) The issue here is not what “range” means in the abstract, but rather what it
23   means in the context of the ’765 patent. Phillips v. AWH Corp., 415 F.3d 1303,
24   1313 (Fed. Cir. 2005) (“Importantly, the person of ordinary skill in the art is
25   deemed to read the claim term . . . in the context of the entire patent, including the
26   specification.”). Table 1 is by far the most relevant evidence, yet Eko ignores it.
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 23 of 31 Page ID
                                #:10511


 1                E.    “segment” (’220 patent and ’066 patent)
 2    Term                   Quibi’s                Eko’s Construction in Joint
 3                           Construction           Statement and Opening Brief
      “segment”              “standalone video”     Plain and ordinary meaning, which
 4                                                  is “a portion of video and/or audio
      ’220 Patent, claims                           content”
 5    1-2, 7-14, 19-21;
 6    ’066 Patent, claims
      1, 11
 7
 8         The term “segment” appears in both the ’220 and ’066 patents. Both patents

 9   are directed to Eko’s choose-your-own-adventure narratives, in which segments

10   branch off into selectable subsequent segments. The Court found that Quibi’s

11   video was not comprised of Eko’s “segments” for either the ’220 or ’066 patent.

12   (PI Order at 21-23.) But again, Eko fails to reckon with the Court’s order. Eko’s

13   vague construction of “segment” as “a portion of video and/or audio content” runs

14   into the same problems as its previous, improper interpretation of “segments” as

15   DASH or HLS chunks of video or landscape and portrait portions of video. (Id. at

16   21-23.) In an apparent effort to save these arguments, Eko proposes a construction

17   that is broad to the point of meaninglessness. (See, e.g., Williams Decl. ¶¶ 91-94.)

18         Quibi proposes the construction “standalone video” because that is how the

19   ’220 patent, incorporated by reference in the ’066 patent, characterizes the word

20   “segment.”7 The Court took note of this language, explaining that Eko’s “invention

21   sought to improve ‘the loading of videos’ by providing a system . . . where multiple

22   videos have multiple segments that are ‘standalone videos.’” (PI Order at 10

23   (emphasis added).) The Court also cited Eko’s summary of its invention, which

24   states, “A further object of the present invention is to provide systems and methods

25         7
             The ’066 patent incorporates by reference the application that later issued as
     the ’220 patent, and supports that “segments” are “standalone videos” for similar
26   reasons. (Williams Decl. ¶¶ 90-92;’066 patent, 6:2-11 (referencing Application No.
     13/437,164).) The parties agreed to present the term “segment” to the Court for
27   both patents as one of the nine chosen terms, and each provided one consistent
     construction across both patents. (Dkt. 435 [Eko Claim Constr. Br.] at 17, 23.)
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 24 of 31 Page ID
                                #:10512


 1   for loading videos where a plurality of videos is loaded, each having a plurality of
 2   segments that are standalone videos.” (’220 patent, 1:61-64; see also id., 3:34-38
 3   (“With the system of the present invention, a plurality of videos are loaded, each
 4   having a plurality of segments that are a standalone video”) (emphasis added).8
 5   Both of these “standalone videos” sentences refer to “the present invention.” When
 6   a patentee describes “the present invention,” “[t]he public is entitled to take the
 7   patentee at his word” of what the invention entails. Honeywell Int’l, Inc. v. ITT
 8   Indus., Inc., 452 F.3d 1312, 1318 (Fed. Cir. 2006).
 9         The figures depict the standalone nature of Eko’s segments and support
10   Quibi’s construction. Figure 4A describes a loading sequence in which segments 1,
11   2a, 2b, and 3a-3d are each unique videos that are loaded independently. In this
12   example, “Segment 1 is loaded. Segments 2a, 2b are then loaded. The user selects
13   option 2b. Segment 2a is then disregarded with its entire branch and segment 2b is
14   loaded. Segments 3c and 3d are also loaded.” (’220 patent, 4:58-62.)
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22   Figures 3-10 also depict selectable “segments of video that can be linked together
23   via branches.” (Id. at 4:25-27). Figure 3 “illustrates the differences between a
24   regular video and one created by the present invention,” and uses “segment” only in
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26         8
             Eko misquotes the first instance of “standalone videos” at column 1, lines
     61-64 by adding the article “a” before “standalone videos,” in order to support its
27   grammatical argument that “standalone video” was meant to describe the
     “plurality” rather than the “segments.” (Dkt. 435 [Eko Claim Constr. Br.] at 19.)
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 25 of 31 Page ID
                                #:10513


 1   regard to the “video of the present invention.” (Id., 4:40-45.) Although the
 2   “regular video” comprises “portions of video and/or audio content” (Eko’s
 3   construction), it does not contain “segments.” (Williams Decl. ¶¶ 87-88.)
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11         The rest of the ’220 patent supports Quibi’s construction of “segment” as a
12   “standalone video.” The claims describe selectable segments that are each
13   downloaded (or not) in a certain priority. (See, e.g., id., claims 1-4, 7-16, 19-21.)
14   Each segment has a variable that specifies whether or not to load that segment. (Id.,
15   6:10-12.) Segments can also be “jumped to” for viewing. (Id., 6:7-8.) These
16   “segments” are sometimes even referred to as “videos”; the “video loading
17   manager” downloads “segments” or “videos” interchangeably. (See, e.g., id., 2:51-
18   56 (“Loading Manager [i]s in charge of downloading web-based videos according
19   to a certain loading logic” and “stop[s] loading unreachable videos once a selection
20   has been made”); id., 5:10-13 (“the system manages loading all the rest of the
21   videos before playing them on every possible branch”); id., 5:28-33 (“the loader 12
22   continues downloading all of the video segments . . . . The loader 12 has a map of
23   all existing videos . . . [and] downloads all possible videos”).) And while the
24   downloading occurs, “the user selects the video [or segment] it wishes to see.” (Id.,
25   4:33-34.)
26         Quibi’s construction of “standalone video,” unlike Eko’s broad construction,
27   captures the proper scope of this term. (See, e.g., Williams Decl. ¶¶ 86-89.)
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 26 of 31 Page ID
                                #:10514


 1                  F.    “collection of segments” (’220 patent)
 2    Term                   Quibi’s Construction        Eko’s Construction in Joint
 3                                                       Statement and Opening Brief
      “collection of         “a first segment of a video Plain and ordinary meaning,
 4    segments”              that is played and one or   which is “a collection of
 5                           more subsequent             portions of video and/or audio
      ’220 Patent,           segments”                   content”
 6    claims 1-2, 13-14
 7         Quibi’s construction is the one that comports with the claim language and
 8   aligns with the intrinsic evidence. It clarifies that the “collection of segments” of
 9   the ’220 patent is not a loose, unorganized group, but rather segments appended
10   onto one another in sequential fashion.9 Eko’s proposed construction, like its
11   construction of “segments” itself, is vague and ignores the Court’s order. (PI Order
12   at 21 (finding Eko failed to show “how a Quibi video is comprised of a ‘collection
13   of segments’”).) The Court found that to the extent Eko’s argument was that “a
14   stitched-together Quibi video is a collection of segments” or that “Quibi employs a
15   collection of segments because Quibi uses the DASH and HLS standards,” Eko’s
16   infringement theories failed. (Id. at 21-22.) Eko’s proposed construction is
17   designed to embrace both of these rejected theories—and virtually any theory Eko
18   may concoct later, for that matter. It also ignores the Court’s conclusion that “a
19   collection of segments” does not exist where the “video comprises a single
20   download or stream.” (Id.)
21         Quibi’s construction—“a first segment of a video that is played and one or
22   more subsequent segments”—conveys the proper scope of this claim. Figure 3
23   explains that “a downloaded video from a played video is the first segment.” (’220
24   patent, 4:44-45 (emphasis added).) Following this “first segment” of “a played
25   video” are “two second segments” and the “remaining video.” (Id., 4:45-48.)
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               Quibi’s construction also incorporates its “segment” construction.
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 27 of 31 Page ID
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 6      ’220 patent Figure 3 (annotated) (“collection of segments” consists of “a first
          segment of a video that is played [red] and subsequent segments [green]”)
 7
 8   All the remaining figures depict this same structure. Figures 4-10 depict “segments
 9   connected by branches,” which form a first segment that is played followed by
10   subsequent segments. (Id., Figures 4-10; Williams Decl. ¶¶ 98-99.)
11         Quibi’s construction is supported by the claim language. It solves the
12   existing ambiguity problem for at least claims 10 and 4 of the ’220 patent by
13   supplying necessary antecedent basis for those claims. Claim 10 refers to “the
14   playing of the first segment,” but neither that claim, nor claims 1 and 7 from which
15   it depends, contains an earlier recitation of any “first segment” that is played. The
16   only reference to “segments” in any parent claim is “the subset of video segments”
17   in claim 7, which refers back to “a subset of video segments” in claim 1—part of
18   “the collection of segments.” Similarly, claim 4 refers to “the subsequent
19   segments,” but neither that claim nor its parent claim 1 provide an antecedent basis
20   for these subsequent segments. 10 But because the only earlier reference to
21   “segments” is the “collection of segments” in claim 1, “the subsequent segments”
22   must also be part of claim 1’s “collection of segments.” Process Control Corp. v.
23   HydReclaim Corp., 190 F.3d 1350, 1356-57 (Fed. Cir. 1999) (construing “the
24   discharge rate” as referring to same rate as “a discharge rate” in part to “avoid[] any
25   lack of antecedent basis problem”). Therefore, at least claims 10 and 4 can be
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27         10
             The issue repeats with claim 16, which depends from claim 13 and recites
     “the subsequent segments” without any antecedent basis.
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 28 of 31 Page ID
                                #:10516


 1   definite only if the “collection of segments” in claim 1 provides an antecedent basis
 2   for both the “first segment” that is played and “the subsequent segments.” Quibi’s
 3   construction of “a first segment of a video that is played and subsequent segments”
 4   captures the meaning of “collection of segments” that would not render the claims
 5   invalid under 35 U.S.C. § 112(b).
 6                G.     “content paths” (’066 patent)
 7    Term             Quibi’s Construction Eko’s Construction in Joint
 8                                           Statement
      “content         “selectable sequences “multimedia presentations of content
 9    paths”           of two or more        segments seamlessly joined together”
10                     multimedia content    Eko’s Construction in Opening Brief
      ’066 Patent,     segments”
11    claims 1, 11                           “two or more multimedia content
                                             segments”
12
           Eko now agrees with Quibi that a content path consists of two or more
13
     multimedia content segments. (Eko Claim Constr. Br. at 25; see also ’066 patent,
14
     2:51-55, 4:26-30, claim 1; Williams Decl. ¶ 110.)
15
           Eko’s construction is incomplete, however. It fails to specify how the
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     segments comprise a content path. A “content path” is not just any two
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     disconnected segments. Rather, as the word “path” conveys, it is two (or more)
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     segments in a sequence. The ’066 patent explains that a content path is formed
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     through a repeatable process in which a user “select[s] the next content segment to
20
     view as the current segment is playing” and then the “selected segment is
21
     seamlessly appended [] onto the currently playing content segment.” (’066 patent
22
     at 2:55-61.) Quibi’s construction preserves the content path’s structure—segments
23
     that are selected and combined in a sequence. (See Williams Decl. ¶ 111.)
24
           That content segments—and by extension, content paths—are selectable is
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     infused into the very purpose of the ’066 patent, which is to provide “systems and
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     methods to synchronize audio for selectably presentable media content
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 29 of 31 Page ID
                                #:10517


 1   segments . . .” (’066 patent at 1:42-46 (emphasis added).)11 Dr. Chatterjee
 2   acknowledges that a content path is selectable because “the user is able to select
 3   which content path to watch.” (Dkt. 244-2 [Chatterjee Decl.] ¶ 113.) The
 4   specification of the ’066 patent supports this: “Traversal of the multimedia content
 5   along a content path may be performed by selecting among options that appear on
 6   and/or around the video while the video is playing. The segment that is played after
 7   a currently playing segment is determined based on the option selected.” (’066
 8   patent at 4:34-42; see also id. at 4:50-56, 5:1-5.) Accordingly, segments are played
 9   one after another as they are selected by a user. (Id.)
10         The claims further support Quibi’s proposed construction. Read with Eko’s
11   construction, the second instance of “content path” in claim 1 provides that the
12   assembly engine assembles the segments into a multimedia presentation comprising
13   two or more segments. Without including “selectable” or “sequence” within the
14   meaning of “content path,” these characteristics of a content path are lost from the
15   limitation. (See ’066 patent at 1:53-59, 2:55-61.)
16         The ’066 patent incorporates by reference Eko’s patent application number
17   13/033,916 (later issued as U.S. patent 9,607,655). (Id. at 4:8-13.) Like the ’066
18   patent, the ’916 application is directed to assembling audio and video segments of
19   interactive videos. (Ex. 5 [’916 application, Pub. No. US 2011/0200116 Al] at
20   Abstract, [0002].) The ’916 application also confirms that content paths—alluded
21   to as “user path[s]” (id. at [0060])—consist of two or more segments and that they
22   are selectable sequences. Figure 5 contains a visual depiction of possible paths:
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26         11
              The ’220 patent (incorporated by reference) also discusses how “[w]ith the
     present invention, the interactive nature of a video impacts the video’s content and
27   the user can control the video’s path” because “every option changes something on
     the video content.” (’220 patent, 7:41-44.)
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 30 of 31 Page ID
                                #:10518


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     (Id., Fig. 5, [0059]-[0060].) It shows the possible segment selections a user can
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     make at each point to form this path. (Williams Decl. ¶¶ 113-114.)
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           Eko’s argument that Quibi’s proposed construction “improperly introduces
19
     ambiguity to the term” is wrong. (Eko Claim Constr. Br. at 25.) Eko contends that
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     the word “selectable” in Quibi’s construction modifies “sequences” rather than
21
     “segments,” but these sequences are selectable by virtue of selecting at least one
22
     content segment within it.12 (Williams Decl. ¶ 112.) The “selectability” of the
23
     sequence is a necessary part of what the “content path” conveys. (See, e.g., ’066
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     patent at 1:50-56, 5:1-5.)
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           12
              The first introductory content segment may not be selectable (see ’066
27   patent, 4:50-56), which is why Quibi did not propose “sequence of two or more
     selectable segments.”
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Case 2:20-cv-02250-CAS-SK Document 280 Filed 02/18/21 Page 31 of 31 Page ID
                                #:10519


 1   Dated: February 18, 2021           MORRISON & FOERSTER LLP
 2
 3                                     By:     /s/ Michael A. Jacobs
                                              Michael A. Jacobs
 4
                                              Attorneys for Plaintiff/Defendants
 5                                            QUIBI HOLDINGS, LLC,
                                              WNDRCO HOLDINGS, LLC,
 6                                            QBI HOLDINGS, LLC,
                                              NEW QBI, LLC,
 7                                            JEFFREY KATZENBERG,
                                              CLIFTON L. SMITH, JR., JOSEPH
 8                                            BURFITT, ROBERT A. POST, JR.,
                                              ERIC BUEHL, and BLAKE
 9                                            BARNES

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